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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 25-5144                                                 September Term, 2024
                                                                       1:25-cv-01015-RCL
                                                       Filed On: May 3, 2025
Patsy Widakuswara, et al.,

              Appellees

       v.

Kari Lake, in her official capacity as Senior
Advisor to the Acting CEO of the U.S. Agency
for Global Media, et al.,

              Appellants



No. 25-5145                                                            1:25-cv-00887-RCL




Michael Abramowitz, in his official capacity as
Director of Voice of America, et al.,

              Appellees

       v.

Kari Lake, in her official capacity as Senior
Advisor to the Acting CEO of the United
States Agency for Global Media, et al.,

              Appellants
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                   United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 25-5144                                                September Term, 2024


No. 25-5150
                                                                      1:25-cv-00966-RCL


Middle East Broadcasting Networks, Inc.,

              Appellee

       v.

United States of America, et al.,

              Appellants


No. 25-5151
                                                                      1:25-cv-00907-RCL


Radio Free Asia,

              Appellee

       v.

United States of America, et al.,

              Appellants

       BEFORE:       Pillard*, Katsas, and Rao, Circuit Judges

                                        ORDER

       Upon consideration of the motions for stay pending appeal filed in the above-
captioned cases, the responses thereto, and the replies; and the administrative stay
entered on May 1, 2025, it is


*Judge Pillard dissents from the grant of the motions for stay.
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                  United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________
No. 25-5144                                                 September Term, 2024

       ORDERED that the motions for stay pending appeal be granted. The following
orders, or parts thereof, are stayed pending further order of the court:

       In No. 25-5144, provisions (1) and (2) of the district court’s preliminary injunction
filed April 22, 2025;

       In No. 25-5145, the district court’s preliminary injunction filed April 22, 2025, to
the extent the relief granted falls within provisions (1) and (2) of the April 22, 2025
preliminary injunction in No. 25-5144;

       In No. 25-5150, the district court’s preliminary injunction filed April 25, 2025;

       In No. 25-5151, the district court’s preliminary injunction filed April 25, 2025.

       A per curiam concurring statement and a dissenting statement of Judge Pillard
are attached. It is

      FURTHER ORDERED that the administrative stay entered in Nos. 25-5144, 25-
5150, and 25-5151 be dissolved.


                                        Per Curiam


                                                          FOR THE COURT:
                                                          Clifton B. Cislak, Clerk

                                                  BY:     /s/
                                                          Amy Yacisin
                                                          Deputy Clerk




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                PER CURIAM: For the following reasons, we grant the
            government’s motion for a stay pending appeal.

                                           I

                The United States Agency for Global Media oversees six
            federally funded broadcast networks. One of these, Voice of
            America, is operated by government employees and
            contractors. Others, including Radio Free Asia and Middle
            East Broadcasting Networks, operate as private, non-profit
            corporations. Through appropriations, Congress has allocated
            specific funding for the private networks, which USAGM
            disburses through grants.      E.g., Further Consolidated
            Appropriations Act of 2024, Pub. L. No. 118-47, div. F, tit. I,
            138 Stat. 460, 735; Explanatory Statement Submitted by Ms.
            Granger, Chair of the House Committee on Appropriations,
            Regarding H.R. 2882, Further Consolidated Appropriations
            Act, 2024, 170 Cong. Rec. H1501, H2089 (Mar. 22, 2024).

                On March 14, 2025, the President issued Executive Order
            14238, which directed USAGM leadership to reduce the
            agency to the minimum level of operations required by statute.
            90 Fed. Reg. 13043. In response, USAGM placed over 1,000
            employees on administrative leave, terminated nearly 600
            personal-service contractors, and terminated RFA’s and
            MBN’s grant agreements for the 2025 fiscal year.
            Widakuswara v. Lake, No. 25-CV-1015, 2025 WL 1166400, at
            *3 (D.D.C. Apr. 22, 2025). USAGM further directed its
            personnel abroad to cease broadcasting through VOA. Id.

                 Various plaintiffs, including USAGM employees,
            contractors, and grantees, filed lawsuits to challenge these
            actions in our district court. In one of the cases, the district
            court granted a preliminary injunction requiring USAGM to
            (1) restore its employees and contractors to their pre-March 14
            status, (2) restore its FY 2025 grants with RFA and MBN, and
            (3) restore VOA as “a consistently reliable and authoritative
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                                            2
            source of news.” Widakuswara, 2025 WL 1166400, at *18.
            The court granted parallel relief in the other cases.

                 USAGM appealed and sought a stay of the first two
            portions of the preliminary injunction. Because of imminent
            funding deadlines, parties on both sides have requested
            expedited consideration of the stay motion.1

                                            II

                 To resolve the stay motion, we consider whether the
            government is likely to prevail on appeal, any irreparable harm
            to the government, harms to the plaintiffs and others, and the
            public interest. See Nken v. Holder, 556 U.S. 418, 425–26
            (2009). Applying these factors, we conclude that a stay is
            warranted.

                                            A

                 The government is likely to succeed on the merits because
            the district court likely lacked subject-matter jurisdiction to
            enjoin USAGM’s personnel actions and to compel the agency
            to restore RFA’s and MBN’s FY 2025 grants.

                                            1

                 The district court likely lacked jurisdiction over
            USAGM’s personnel actions. “We have long held that federal
            employees may not use the Administrative Procedure Act to
            challenge agency employment actions.” Filebark v. U.S. Dep’t

                1
                     Radio Free Europe, another private network funded by
            USAGM, filed a similar suit and received a temporary restraining
            order. See RFE/RL, Inc. v. Lake, No. 25-CV-799, 2025 WL 1232863
            (D.D.C. Apr. 29, 2025). The government has filed a separate motion
            to stay that order, which we do not resolve here.
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                                           3
            of Transp., 555 F.3d 1009, 1010 (D.C. Cir. 2009). Congress
            has instead established comprehensive statutory schemes for
            adjudicating employment disputes with the federal
            government.2 See, e.g., 5 U.S.C. §§ 1204, 7121–22, 7701
            (Merit Systems Protection Board); id. § 1214 (Office of the
            Special Counsel); id. § 7104 (Federal Labor Relations
            Authority); 22 U.S.C. § 4107 (Foreign Service Labor Relations
            Board); id. § 4136 (Foreign Service Grievance Board); 41
            U.S.C. §§ 7103–05 (Civilian Board of Contract Appeals).
            These remedial schemes “provide[] the exclusive procedures
            by which federal employees” may pursue employment- and
            contractor-related claims. Am. Fed’n of Gov’t Emps., AFL-
            CIO v. Trump, 929 F.3d 748, 755 (D.C. Cir. 2019); see, e.g.,
            Am. Foreign Serv. Ass’n v. Baker, 895 F.2d 1460, 1461–62
            (D.C. Cir. 1990) (foreign-service labor-related claims must go
            through FSLRB); Dalton v. Sherwood Van Lines, Inc., 50 F.3d
            1014, 1017 (Fed. Cir. 1995) (Contract Disputes Act provides
            exclusive remedial scheme for covered contracts). “Federal
            employees may not circumvent [these statutes’] requirements
            and limitations by resorting to the catchall APA to challenge
            agency employment actions.” Grosdidier v. Chairman, Broad.
            Bd. of Governors, 560 F.3d 495, 497 (D.C. Cir. 2009). “And
            that principle applies to a ‘systemwide challenge’ to an agency
            policy … just as it does to the implementation of such a policy
            in a particular case.” Nyunt v. Chairman, Broad. Bd. of
            Governors, 589 F.3d 445, 449 (D.C. Cir. 2009).


                2
                    The dissent doubts that Congress’s chosen administrative
            methods could meaningfully process agency-wide claims for over
            1,000 employees. But administrative agencies are not powerless to
            issue broad-reaching relief in large-scale personnel matters. See
            Order on Stay Request, Special Counsel ex rel. John Doe v.
            Department of Agriculture, No. CB-1208-25-0020-U-1 (MSPB Mar.
            5, 2025), https://perma.cc/3F45-PKG5 (single MSPB order staying
            termination of nearly 6,000 employees).
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                                             4
                 The district court nonetheless justified the injunction on
            the ground that “this case is not simply a collection of
            employment disputes” because the “facts on the record and on
            the ground” suggest USAGM is being “dismantl[ed].”
            Widakuswara, 2025 WL 1166400, at *11. And in their stay
            briefing, plaintiffs expressly frame their claims as challenging
            the “wholesale shuttering of VOA” and seeking to undo “broad
            government actions” to “dismantl[e] an entire federal agency.”
            Abramowitz Opp’n to Stay Mot. at 13, 18; Widakuswara
            Opp’n to Stay Mot. at 14. Yet plaintiffs may not use the APA
            to mount “wholesale” challenges to an agency’s “entire
            program.” Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 893
            (1990) (cleaned up). The APA cause of action, like its
            sovereign-immunity waiver, provides for judicial review of
            “discrete agency actions.” Norton v. S. Utah Wilderness All.,
            542 U.S. 55, 64 (2004); see 5 U.S.C. §§ 702, 704. The
            “dismantling” that plaintiffs allege is a collection of “many
            individual actions” that cannot be packaged together and “laid
            before the courts for wholesale correction under the APA.”
            Nat’l Wildlife Fed’n, 497 U.S. at 893.3 Thus, while USAGM’s
            employees and contractors might have viable, discrete claims
            with respect to their individual personnel actions, those claims
            must be pursued through other remedial channels.

                                             2

               The district court also likely lacked jurisdiction to restore
            RFA’s and MBN’s FY 2025 grants.



                3
                   Before the district court and here, the government maintained
            that plaintiffs fail to challenge any discrete, circumscribed agency
            action as required under the APA and instead seek judicial review of
            the agency’s general compliance with its statutory mandate. See
            Opp. to Preliminary Injunction 30; Stay Mot. 22–23.
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                                            5
                 The Tucker Act vests the Court of Federal Claims with
            jurisdiction over claims against the United States “founded …
            upon any express or implied contract with the United States.”
            28 U.S.C. § 1491(a)(1). We have long held that this
            jurisdictional grant, where it applies, is exclusive and thus bars
            application of the sovereign-immunity waiver set forth in the
            APA. Crowley Gov’t Servs., Inc. v. Gen. Servs. Admin., 38
            F.4th 1099, 1106 (D.C. Cir. 2022); see 5 U.S.C. § 702
            (providing that APA waiver of sovereign immunity is
            inapplicable where “any other statute that grants consent to suit
            expressly or impliedly forbids the relief which is sought”). For
            Tucker Act purposes, whether a claim is “founded upon” a
            contract hinges on “the source of the rights upon which the
            plaintiff bases its claims, and upon the type of relief sought.”
            Crowley, 38 F.3d at 1106 (quoting Megapulse, Inc. v. Lewis,
            672 F.2d 959, 968 (D.C. Cir. 1982)). If a claim against the
            United States is contractual “at its essence,” district courts have
            no power to resolve it. Id. (quoting Megapulse, 672 F.2d at
            967). The same rule applies to claims for breach of grant
            agreements executed through binding government contracts.
            See Columbus Reg’l Hosp. v. United States, 990 F.3d 1330,
            1338–40 (Fed. Cir. 2021).

                 The Supreme Court recently applied these principles to
            issue a stay pending appeal in a case substantially similar to
            this one. In Department of Education v. California, 145 S. Ct.
            966 (2025) (per curiam), a district court entered an order
            “enjoining the Government from terminating various
            education-related grants.” Id. at 968. The Supreme Court
            stayed the order pending the disposition of an appeal to the
            First Circuit and any ensuing petition for certiorari. Id. at 696.
            The Court concluded that the district court likely lacked
            jurisdiction to bar termination of the grants, because the Tucker
            Act likely conferred jurisdiction over the dispute on the CFC.
            Id. Therefore, “the APA’s limited waiver of immunity d[id]
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                                           6
            not extend” to the injunction at issue, which the Court
            described as an “order[] to enforce a contractual obligation to
            pay money.” Id. (cleaned up).

                 That reasoning controls this case. Congress created a
            contractual scheme for allocating funds to the grantees. It
            authorizes USAGM to fund RFA, MBN, and other networks
            through “grants and cooperative agreements.” 22 U.S.C.
            § 6204(a)(5). Likewise, the governing appropriation statute
            allocates specific funding amounts for “grants” to those
            networks. 2024 Appropriations Act, 138 Stat. at 735. In the
            grants at issue here, USAGM, acting through its Chief
            Executive Officer, promised to pay the appropriated funds to
            the networks in monthly installments. In return, the networks
            promised to use the funds to advance statutory objectives and
            to comply with all program requirements. These exchanges of
            promises—reflecting offer, acceptance, consideration,
            mutuality of intent, and action by an official with authority to
            bind the government—constitute government contracts for
            Tucker Act purposes. Columbus Reg’l Hosp., 990 F.3d at
            1338–39.

                  By the district court’s own telling, the dispute here arose
            when USAGM terminated these agreements. Widakuswara,
            2025 WL 1166400, at *3. The district court ordered
            “restor[ation] [of] the FY 2025 grants” and “disbursement to
            RFA and MBN of the funds Congress appropriated.” Id. at
            *18. Whether phrased as a declaration that the agreements
            remain in force, or an order to pay the money committed by
            those agreements, the injunction in substance orders specific
            performance of the grant agreements—a quintessentially
            contractual remedy. See Ingersoll-Rand Co. v. United States,
            780 F.2d 74, 79–80 (D.C. Cir. 1985); Spectrum Leasing Corp.
            v. United States, 764 F.2d 891, 894–95 (D.C. Cir. 1985). And
            it is the inherently contractual nature of the relief afforded—
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                                               7
             not any characterization of the relief as money damages—that
             makes the CFC the exclusive forum for this suit. See Ingersoll-
             Rand, 780 F.2d at 79–80 (holding a plaintiff “may not sidestep”
             CFC jurisdiction by “avoiding a request for damages,” when
             their request relief “amount[s] to a request for specific
             performance”); see also Crowley, 38 F.4th at 1107 (cautioning
             against “creative drafting of complaints … to avoid the
             jurisdictional consequences of the Tucker Act” (cleaned up)).

                  To distinguish California, the plaintiffs stress that
             Congress appropriated specific sums for RFA and MBN.
             Accordingly, plaintiffs contend, they may file an APA claim—
             independent of and antecedent to their grant agreements—to
             force USAGM to disburse the appropriated amounts. But
             plaintiffs overread the governing statutes, which do not give
             the networks an unqualified right to the appropriated funds.
             Rather, they allocate funds for the networks, which may be
             disbursed only as grants. See 2024 Appropriations Act, 138
             Stat. at 735. If these statutes created any entitlement for the
             networks at all, they at most would require USAGM to enter
             grants obligating the appropriated amounts to the networks. Cf.
             Train v. City of New York, 420 U.S. 35, 40–43 & n.9 (1975).4
             Thus, any APA claim under these statutes would have to allege
             that the government failed to enter a grant agreement obligating
                  4
                     And even then, USAGM may impose various conditions on a
             network’s receipt of the appropriated funds. See 22 U.S.C. § 6208(c)
             (listing “limitations and restrictions” to be contained in “[a]ny grant
             agreement”); 2024 Appropriations Act, 138 Stat. at 735 (“funds
             appropriated under this heading shall be made available in
             accordance with the principles and standards” of the statute).
             Moreover, even after USAGM has entered into grant agreements, the
             agency still may “award the grant … to another entity” if, “at any
             time,” it determines that the network “is not carrying out the
             [statutory] functions … in an effective and economical manner.” 22
             U.S.C. § 6208(g).
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                                              8
             the appropriated amount. See Nat’l Ctr. for Mfg. Scis. v. United
             States, 114 F.3d 196, 199–200 (Fed. Cir. 1997) (NCMS). But
             here, USAGM did obligate the appropriated funds through
             grants, thereby satisfying whatever duty (if any) it had under
             the appropriation statutes. See Widakuswara, 2025 WL
             1166400, at *4–*5. Once the agency entered these contracts,
             it incurred a new obligation: Unlike the relevant statutes, the
             grant agreements require the government to make monthly
             payments to the networks—the very obligation prompting this
             highly expedited stay litigation. Accordingly, the claims of
             government nonpayment necessarily challenge its performance
             under the grants. Such claims are squarely contract claims
             under the Tucker Act. See Boaz Housing Auth. v. United
             States, 994 F.3d 1359, 1368–69 (Fed. Cir. 2021) (explaining
             NCMS); see also Ingersoll-Rand, 780 F.2d at 78–80 (Tucker
             Act applies to claims that the government’s termination of a
             contract violated statutes or regulations incorporated therein).5

                 The plaintiffs’ non-APA claims regarding grant money are
             unlikely to fare any better. Below, plaintiffs raised mandamus,
             impoundment, Presentment Clause, Appropriations Clause,
             Spending Clause, Take Care Clause, Separation-of-Powers,

                 5
                    The dissent describes 22 U.S.C. § 6208(c)(5) as significantly
             limiting the circumstances in which USAGM may terminate grants.
             However, that provision sets forth when grants may be “terminated
             without fiscal obligation to the United States.” 22 U.S.C. §
             6208(c)(5) (emphasis added). It thus confirms our conclusion that
             Congress contemplated financial liability under the grant as the
             remedy for any breach. The dissent also notes that the government
             cannot prevent enforcement of statutes through the APA merely by
             incorporating the statutes into contracts. The dissent is correct on
             that point. See Megapulse, 672 F.2d at 967. But in this statute,
             Congress chose to use a contractual mechanism for obligating the
             appropriated funds, rather than creating a freestanding statutory
             entitlement.
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                                              9
             and ultra vires claims. And before our Court, plaintiffs argue
             that “serious constitutional question[s]” would arise if we
             concluded that the CFC had exclusive jurisdiction, as that
             would deprive them of meaningful judicial review of their
             constitutional claims. Widakuswara Opp’n to Stay Mot. at 18
             (citing Webster v. Doe, 486 U.S. 592, 603 (1988)). But these
             constitutional claims simply flow from allegations that the
             Executive Branch has failed to abide by governing
             congressional statutes, which does not suffice to trigger the
             distinctively strong presumptions favoring judicial review of
             constitutional claims. Dalton v. Specter, 511 U.S. 462, 472–74
             (1994); see also Ingersoll-Rand, 780 F.2d at 78 (Tucker Act
             governs challenge to contract termination, “despite plaintiff’s
             allegations of statutory and constitutional violations” (cleaned
             up)).6 Moreover, these claims fall short for the same reason as
             plaintiffs’ APA claims: At most, the statutes in question
             required USAGM to allocate the appropriated amounts through
             grants enforceable as contracts, which USAGM has done.

                                              B

                 On balance, the remaining Nken factors support a stay.

                  Irreparable Harm. The government has shown that it will
             face irreparable harm absent a stay. As to the reinstatement of
             USAGM employees and personal-service contractors: The
             Executive Branch has a significant interest in maintaining
             control over personnel matters. See Sampson v. Murray, 415

                 6
                     In the district court, the Widakuswara plaintiffs also raised
             Appointments Clause and First Amendment claims. The district
             court did not address them in granting the preliminary injunction,
             Widakuswara, 2025 WL 1166400, at *5 n.13, *15 n.26, and the
             plaintiffs do not assert them as grounds for denying a stay. So, we
             do not consider these claims in resolving these stay motions.
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                                              10
             U.S. 61, 83 (1974). In requiring the restoration of all
             employees and contractors to their pre-March 14 status, the
             injunction interferes with this important responsibility. This
             intrusion is particularly harmful because it implicates the
             Executive Branch’s foreign-affairs authority. USAGM is
             responsible for “present[ing] the views of the United States
             Government” and “support[ing] United States foreign policy
             objectives” in the international community. 22 U.S.C.
             § 6202(b)(3), (4). By depriving the Executive Branch of
             control over the individuals involved in its international
             broadcasting, the injunction threatens its prerogative to “speak
             with one voice” on behalf of the United States in foreign
             affairs. Cf. Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S. 1,
             14 (2015); United States v. Curtiss-Wright Exp. Corp., 299
             U.S. 304, 319–20 (1936).

                  As to the restoration of the grants: Absent a stay, USAGM
             would be forced to imminently pay out some $15 million to
             RFA and MBN. And RFA and MBN have attested they intend
             to spend these funds “immediately.” Network Opp’n to Stay
             Mot. at 22. Because the district court did not require plaintiffs
             to post any injunction bond, Widakuswara, 2025 WL 1166400,
             at *17,7 USAGM cannot recover these funds even if it should
             prevail in its appeal. Under these circumstances, harm to the
             government is irreparable. See California, 145 S. Ct. at 969.


                 7
                    Federal Rule of Civil Procedure 65(c) provides that a district
             court “may issue a preliminary injunction or a temporary restraining
             order only if the movant gives security in an amount that the court
             considers proper to pay the costs and damages sustained by any party
             found to have been wrongfully enjoined or restrained.” Fed. R. Civ.
             P. 65(c) (emphasis added). The “precise purpose” of such a bond is
             to ensure that a defendant can be fairly compensated for injury
             stemming from a wrongfully granted injunction. Nat’l Kidney
             Patients Ass’n v. Sullivan, 958 F.2d 1127, 1134 (D.C. Cir. 1992).
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                                             11
                  Harm to Others. Plaintiffs identify various harms that they
             and others may incur absent a stay, including loss of
             employment, the possible collapse of MBN and RFA, the
             elimination of a union’s bargaining unit, and the removal of
             alien employees and contractors to countries hostile to the free
             press. Although we appreciate the gravity of these harms, there
             remain several avenues for their remediation. See Chaplaincy
             of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C.
             Cir. 2006) (“[T]he injury must be beyond remediation.”). Loss
             of government employment generally does not constitute
             irreparable injury, see Sampson, 415 U.S at 91–92 & n.68,
             especially since employees seeking to challenge their
             termination or placement on administrative leave may seek
             emergency stays from the Office of Special Counsel and
             MSPB, see 5 U.S.C. § 1214(b). Personal-service contractors
             may likewise challenge their termination under the Contract
             Disputes Act, and unions may file complaints on behalf of their
             members before the FLRA. E.g., Ho v. United States, 49 Fed.
             Cl. 96, 101 (2001) (CFC exercising jurisdiction over personal-
             service contract), aff’d, 30 F. App’x 964 (Fed. Cir. 2002); see
             41 U.S.C. § 7101 et seq.; 5 U.S.C. § 7118. Journalists may
             seek relief in immigration proceedings to avoid potential
             persecution based on their political opinions. See 8 U.S.C.
             §§ 1101(a)(42)(A), 1158 (asylum); id. § 1231(b)(3)
             (withholding of removal). As for MBN and RFA, they may
             seek to recover any wrongfully withheld grant funds in the
             CFC. 28 U.S.C. § 1491(a)(1). Indeed, for almost a month, the
             Supreme Court has made clear that the CFC is likely the only
             forum open to them. See California, 145 S. Ct. at 968.8



                 8
                     We need not consider any potential harm from shuttering
             VOA; the district court ordered USAGM to resume VOA’s
             statutorily required programming levels, and the government has not
             sought to stay that provision of the injunction.
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                                             12
                  Public Interest.        Plaintiffs allege that USAGM’s
             implementation of the Executive Order has violated numerous
             statutory requirements. At this stage of the litigation, the
             government has raised jurisdictional, not merits, defenses. Of
             course, we recognize that the public has an interest in the
             Executive Branch’s compliance with congressional mandates.
             League of Women Voters of the U.S. v. Newby, 838 F.3d 1, 12
             (D.C. Cir. 2016). By the same token, however, the public has
             an interest in the Judicial Branch’s respect for the jurisdictional
             boundaries laid down by Congress. Because personnel and
             grant disputes directly concern the public fisc, Congress has
             limited the resolution of these potentially costly claims to
             specialized tribunals such as the MSPB and the CFC. We must
             respect those boundaries no less than the substantive and
             appropriations provisions governing the operation of USAGM.
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                  PILLARD, Circuit Judge, dissenting: Defendants are
             unlikely to succeed on the merits: They have not persuasively
             established that the district court lacked authority to enter the
             preliminary injunction. Meanwhile, Voice of America, Radio
             Free Asia, and Middle East Broadcasting Networks face severe
             and irreparable harm absent injunctive relief. Voice of
             America has gone dark for the first time since 1942. Radio
             Free Asia and Middle East Broadcasting Networks face
             imminent collapse if they do not receive the funding Congress
             directed to each of them by name. The purpose of a stay
             pending appeal is to maintain the status quo until a case can be
             fully adjudicated on its merits. This stay does the opposite,
             silencing Voice of America for the foreseeable future and
             eliminating Radio Free Asia and Middle East Broadcasting
             Networks’ ability to see this case through to the end.

                                             I.

                  Defendants are not likely to succeed on the merits. They
             do not claim that any court would likely hold that they are
             carrying out the will of Congress. They argue instead that other
             entities should have heard plaintiffs’ claims. Part A describes
             the strong likelihood that the plaintiffs who worked for Voice
             of America did not have to spend years attempting to channel
             their claims through federal labor and employment
             administrative processes before they could file this suit under
             the Administrative Procedure Act to set aside the Agency’s
             efforts to dismantle the work of Congress. It also defends the
             scope of the district court’s preliminary injunction as
             commensurate with defendants’ baby-with-the-bathwater
             approach to asserting their “policy priorities.” Part B turns to
             the strong likelihood that the district court had jurisdiction over
             the claims of Radio Free Asia and Middle East Broadcasting
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                                             2
             Networks, contrary to contentions that those claims belong in
             the Court of Federal Claims.

                                            A.

                  On March 14, 2025, the President signed Executive Order
             14238, Continuing the Reduction of the Federal Bureaucracy,
             directing USAGM to “reduce the performance of [its] statutory
             functions and associated personnel to the minimum presence
             and function required by law,” and to eliminate “the non-
             statutory components and functions” of the agency “to the
             maximum extent consistent with applicable law.” 90 Fed. Reg.
             13043 (Mar. 14, 2025). The EO directed the head of USAGM
             to report its compliance to OMB with an explanation of “which
             components or functions of the governmental entity, if any, are
             statutorily required and to what extent.” Id. (emphasis added).

                  The very next day, USAGM’s website featured a statement
             announcing that the Agency—which it described as producing
             “radical propaganda,” “rot from top to bottom”—is
             “irretrievably broken” and “not salvageable.”1 Apparently
             having concluded that none of the functions of Voice of
             America or the foreign affiliate networks is statutorily required,
             the agency’s acting leadership proceeded to dismantle all of
             them.

                  To that end, the district court found, defendants “took
             immediate and drastic action to slash USAGM, without
             considering its statutorily or constitutionally required
             functions.” Widakuswara v. Lake, No. 1:25-CV-1015-RCL,
             2025 WL 1166400, at *14 (D.D.C. Apr. 22, 2025). The day

             1
              USAGM, Senior Advisor Kari Lake Cancels Obscenely Expensive
             15-Year-Lease that Burdened the Taxpayers and Enforces Trump’s
             Executive Order to Drastically Downsize Agency, U.S. AGENCY FOR
             GLOBAL MEDIA (Mar. 15, 2025), https://perma.cc/YQA4-3TVA.
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                                            3
             after the EO was signed, the agency’s acting leadership sent a
             boilerplate e-mail to 1,042 of the 1,147 full-time employees
             placing them on administrative leave and another such email to
             each USAGM affiliated network terminating its grant on the
             ground that it “no longer effectuates agency priorities.” Id. at
             *3 & n.5. The next day, the government cancelled all USAGM
             personal service contracts. It then instructed all the USAGM
             foreign news services to shut down their transmitters and place
             locally employed staff on leave. USAGM prepared to send
             termination notices to every radio broadcast technician
             working for it anywhere in the world who was not already in
             the process of retiring. Id. at *3. The government informed
             plaintiff AFGE of its plan to terminate 594 employees who are
             AFGE members. Id.

                   As a result of those wholesale actions, USAGM’s flagship
             station, Voice of America, stopped reporting the news “for the
             first time in its 80-year existence.” Id. Voice of America’s
             affiliate networks abroad went dark or switched to airing only
             music. Widakuswara Compl. ¶ 82.

                  The statute is clear: Voice of America must “serve as a
             consistently reliable and authoritative source of news.” 22
             U.S.C. § 6202(c)(1). The government touts that it did not
             challenge part (3) of the injunction compelling its compliance
             with that statutory directive. Gov’t Stay Mot. 1. But the
             significance of that caveat—beyond the purely symbolic—
             remains a mystery. The district court found as fact that the
             Agency has placed on leave or terminated all the VOA
             employees and contractors who are necessary to fulfilling that
             mandate. See Widakuswara Compl. ¶ 83 (all transmitters
             abroad shuttered and all locally employed staff placed on
             administrative leave). And there is no reason to conclude that
             the government is in fact complying with the injunction to get
             Voice of America back up and running. Plaintiff Abramowitz
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                                             4
             emailed Defendants Lake and Morales the morning after the
             district court entered the injunction, asking about their plans to
             bring VOA staff back to work. He received no response.
             Abramowitz Opp’n 21. No status report or other filing or
             source of information suggests that Voice of America has
             resumed broadcasting the news.

                   In support of its emergency motion for a stay pending
             appeal in the Voice of America cases, the government contends
             it is likely to succeed on the merits in its defense against the
             claims of Voice of America’s employees for two related
             reasons. First, as a threshold matter, it asserts that the district
             court lacked jurisdiction over the employee plaintiffs’ claims
             because the employees did not first seek relief from the Merit
             Systems Protection Board (MSPB) (for employment disputes),
             the Federal Labor Relations Authority (FLRA) (for labor
             disputes), or the Office of Special Counsel (for prohibited
             personnel practices). Gov’t Stay Mot. 20-21. Second, the
             government argues that the preliminary injunction is overbroad
             in ways that are unsupported by the claims the district court
             held were likely to succeed. Gov’t Stay Mot. 19-21.

                  1. The administrative channeling defense is inapposite
             here. The government contends that plaintiffs must treat their
             wholesale removal from the workplace as if it were an
             aggregation of individualized employment actions. It suggests
             that the correct response is for each of the hundreds of
             employees to proceed with a separate, identical administrative
             claim at the MSPB or FLRA. I would not indulge any such
             fiction. Defendants themselves never did. They took broad,
             blunt, and decisive action to gut USAGM and VOA. They sent
             identical notices to all VOA employees. Widakuswara Compl.
             ¶ 74. Nothing about each decision or its execution was
             individualized.      No employment-related rationale was
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             offered—except the cold comfort that the action was not for
             any “disciplinary purpose.” Id.

                  Defendants give no realistic indication why administrative
             exhaustion is required here other than to weakly suggest that,
             viewed as individual employment actions, some “may be
             entirely lawful.” Gov’t Stay Mot. 21. The government leaves
             unsaid how review by the agencies it identifies could discern
             in any individualized sense how a wholesale removal of public
             sector employees from their jobs without employment-related
             grounds, notice, or prospects for return “may” be found to be
             lawful—or not—by the employment-review agencies to which
             they would direct the plaintiffs.

                  Even taken at face value, the government’s channeling
             argument is unlikely to succeed. See Widakuswara, 2025 WL
             1166400, at *10-11.          Channeling plaintiffs’ claims to
             administrative bodies designed to adjudicate individual
             employment or labor disputes would entirely shut off
             meaningful judicial review of the claims plaintiffs assert. The
             VOA plaintiffs challenge the dismantling of USAGM through
             the wholesale placement of employees on administrative leave
             with one boilerplate letter. The agency took that action without
             any employee-related justification. The announced reason
             defendants acted as they did was to dismantle a broadcaster
             whose mission and operation they disdain. That is not a
             “covered agency action[]” that must proceed through the
             administrative review scheme. Elgin v. Dep’t of Treasury, 567
             U.S. 1, 5-6, 10 (2012) (emphasis added). Nor is the action
             challenged here a matter of federal sector “employee relations”
             that must proceed through the Federal Labor Relations
             Authority. Cf. Am. Fed’n of Gov’t Emps., AFL-CIO v. Trump,
             929 F.3d 748, 755 (D.C. Cir. 2019). The plaintiffs in this
             lawsuit challenge the evisceration of their jobs only insofar as
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             it is the means by which they challenge defendants’ unlawfully
             halting the work of Voice of America and shutting it down.

                  The channeling defense does not in any event reach all
             claims in the VOA cases. As the district court pointed out,
             Widakuswara, 2025 WL 1166400, at *10, there is no scenario
             in which the claims the nonprofit press organizations or
             personal service contractors raise could conceivably be
             channeled through the Federal Service Labor-Management
             Relations Statute, the Civil Service Reform Act, or the Foreign
             Service Act. There is no administrative agency from which
             plaintiffs Reporters Without Borders, Reporters Sans
             Frontières, or personal service contractors John Does 3 and 4
             might seek relief, even if it made sense for them to try. Given
             defendants’ failure to acknowledge or address the lack of any
             administrative process available to these plaintiffs, there is no
             basis to conclude the threshold challenge to the district court’s
             jurisdiction to hear these plaintiffs’ APA and constitutional
             claims is likely to succeed.

                  Plus, all the employees raise constitutional claims,
             including under the First Amendment, separation of powers,
             and the Take Care Clause. The government fails to
             acknowledge those claims. Constitutional claims are collateral
             to any review afforded by the Civil Service Reform Act and the
             Federal Service Labor-Management Relations Statute. Article
             III courts may retain jurisdiction over employment claims of
             federal employees that raise constitutional challenges. See
             Andrade v. Lauer, 729 F.2d 1475, 1493 (D.C. Cir. 1984)
             (retaining jurisdiction over allegation that officials responsible
             for reduction-in-force action held office in violation of the
             Appointments Clause); Weaver v. U.S. Info. Agency, 87 F.3d
             1429, 1433-34 (D.C. Cir. 1996) (retaining jurisdiction over
             employee’s First Amendment claim). The agencies’ lack of
             expertise or capacity to address plaintiffs’ properly framed
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             APA and constitutional claims is another reason the channeling
             requirement is unlikely to apply to them. See generally, Axon
             Enter., Inc. v. Fed. Trade Comm’n, 598 U.S. 175, 194 (2023)
             (“The Commission knows a good deal about competition
             policy, but nothing special about the separation of powers.”).
             Far more likely—and certainly more appropriate in every
             practical sense—is that the government’s mass action to
             eliminate virtually all the agency’s employees, like its action of
             wholesale elimination of the agency’s contractors, is subject to
             review directly in the district court to determine whether it was
             arbitrary or unlawful under the APA and in excess of the
             executive’s unilateral authority.

                  2. The plaintiffs are also likely to succeed in defending
             the district court’s injunction restoring the VOA employees to
             their pre-March 15 status as relief properly tailored to the
             employee-plaintiffs’ claims. The government protests that the
             district court issued a “broad programmatic order” to enforce
             compliance with a “broad statutory mandate,” which they
             claim exceeds the bounds of judicial review of agency actions
             set by Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871 (1990) and
             Norton v. S. Utah Wilderness All. (SUWA), 542 U.S. 55 (2004).
             Gov’t Stay Mot. 22-23. The fashioning of effective equitable
             relief is highly discretionary and context-specific. As applied
             here, the government’s cookie-cutter objection to the
             injunction in this case, entered by a highly experienced and
             able district judge based on a powerful record of extraordinary
             and categorical government conduct, does not persuade.

                  The scope of plaintiffs’ claims and the preliminary relief
             granted to preserve their chance of permanent relief should
             they prevail differs in important ways from what the Court
             deemed problematic in Lujan and SUWA. The plaintiffs in
             Lujan challenged the Department of the Interior’s operations in
             reviewing, classifying, and developing plans for various public
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             lands. 497 U.S. at 890. As the Supreme Court observed, the
             “so-called ‘land withdrawal review program’” they challenged
             was plaintiffs’ own construct. Id. The complaint did not “refer
             to a single [agency] order or regulation, or even to a completed
             universe of particular [agency] orders and regulations,” but to
             a “continuing” and “constantly changing” amalgam of
             discretionary activities. Id. Unsurprisingly, the Court saw no
             final, reviewable agency action in the “program” to which
             plaintiffs objected. The conduct plaintiffs challenge in this
             case is discrete and clear: halting the work of virtually all the
             employees working at Voice of America and bringing the
             operation of that station to a halt. What they asked the district
             court to revive and protect is no more than what Congress
             prescribed. The kind of difficulty described in Lujan is absent
             here. Here, there is no “continuing” and “constantly changing”
             set of agency operations being placed before the court.

                  This case is also not a “programmatic” challenge to agency
             policies and does not, contrary to the government’s
             remonstrance, require the court to run the agency. Defendants
             rely on SUWA, in which the Supreme Court rejected plaintiffs’
             request to force the Bureau of Land Management to comply
             with a statutory obligation to manage certain public lands “in a
             manner so as not to impair the suitability of such areas for
             preservation as wilderness.” 542 U.S. at 65 (quoting 43 U.S.C.
             § 1782(c)). Plaintiffs there urged the district court to order their
             preferred managerial regime by making the agency promulgate
             rules to prohibit the use of off-road vehicles. The Court
             observed that the statute at issue “assuredly [did] not mandate,
             with the clarity necessary to support judicial action . . . the total
             exclusion of [off-road vehicle] use.” Id. at 66. Unlike in
             SUWA, plaintiffs are not seeking to direct the court to bring into
             being an alternative suite of broadcast stations to the one that
             Congress defined and funded. Instead, there is a “completed
             universe” of agency actions that plaintiffs have alleged, and the
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             district court agreed, are unlawful. Again, because they are
             likely to succeed in that claim, I would deny the stay.

                  The government cannot seriously contend on this posture
             that the relevant statutes—or more foundationally the
             constitutional separation of powers—permit the President to
             wholly scupper Voice of America and its affiliated Networks.
             Defendants characterize the claims as an impermissible attempt
             to clump together “many individual actions” and
             impermissibly challenge them as one under the APA. The fact
             that the government elected to take many unlawful agency
             actions in short order—thereby putting the whole agency on the
             chopping block—does not exempt their violations from
             judicial scrutiny. See Widakuswara, 2025 WL 1166400, at
             *11. Yes, the pace and scope of the government’s destructive
             efforts present the courts with remedial challenges in this and
             many other recent cases. But the very volume of lawbreaking
             and the scope of operational functioning laid waste does not
             add up to courts losing the power to determine the lawfulness
             of agency action. And the government has not meaningfully
             disputed that the statute mandates “with the clarity necessary
             to support judicial action” that the USAGM operations
             Congress ordered be established and funded must continue to
             exist absent congressional action to the contrary.

                                            B.

                  Defendants are similarly unlikely to succeed on the merits
             of their challenge to the preliminary injunction as it applies to
             Radio Free Asia (RFA) and Middle East Broadcasting
             Networks (MBN) (the Networks). Federal laws passed by
             Congress require the allocation of specified grant funding to
             the Networks. Nonetheless, defendants purported to terminate
             the Networks’ grant agreements and are withholding funds
             allocated to them on the stated grounds that each grant award
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                                            10
             “no longer effectuates agency priorities.” Plaintiffs sued to halt
             defendants’ impoundment of those funds.

                  The Networks claim that the defendants’ funding freeze is
             in violation of the International Broadcasting Act and related
             statutes, and that its defiance of Congress’s directives in those
             laws is ultra vires and unconstitutional. The government
             counters that plaintiffs’ claims sound in contract, so must be
             dismissed because the Tucker Act grants the Court of Federal
             Claims exclusive jurisdiction over contract claims against the
             federal government. That “restrictive—and unprecedented—
             interpretation of [the district court’s jurisdiction] should be
             rejected because the remedy available to the [plaintiffs] in the
             Claims Court is plainly not the kind of ‘special and adequate
             review procedure’ that will oust a district court of its normal
             jurisdiction under the APA” and the Constitution. Bowen v.
             Massachusetts, 487 U.S. 879, 904 (1988).

                  “This court retains the power to make rational distinctions
             between actions sounding genuinely in contract and those
             based on truly independent legal grounds,” Megapulse, Inc. v.
             Lewis, 672 F.2d 959, 969-70 (D.C. Cir. 1982), and it is clear
             from the Networks’ complaint that this is not a “disguised,” id.
             at 969, run-of-the-mill contract action “within the unique
             expertise of the Court of Claims,” Ingersoll-Rand Co. v. United
             States, 780 F.2d 74, 78 (D.C. Cir. 1985). At its core, the
             Networks’ suit challenges the government’s assertion that it
             may disregard specific congressional funding directives when
             it disagrees with Congress’s policy choices. Interpreting the
             Tucker Act to deny the district court jurisdiction over a matter
             with such “serious implications for our constitutional
             structure,” In re Aiken Cnty., 725 F.3d 255, 267 (D.C. Cir.
             2013), is utterly inconsistent with both this court’s and the
             Supreme Court’s longstanding understanding of the Tucker
             Act as providing the exclusive forum for a narrow category of
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             “actions based on government contracts.” Megapulse, 672
             F.2d at 967; see also United States v. Mottaz, 476 U.S. 834, 851
             (1986) (describing “the essence of a Tucker Act claim for
             monetary relief” as one requesting “damages for the
             Government’s past acts”); Crowley Gov’t Servs., Inc. v. Gen.
             Servs. Admin., 38 F.4th 1099, 1107 (D.C. Cir. 2022) (“[W]e
             have explicitly rejected the ‘broad’ notion ‘that any case
             requiring some reference to or incorporation of a contract is
             necessarily on the contract and therefore directly within the
             Tucker Act’ because to do so would ‘deny a court jurisdiction
             to consider a claim that is validly based on grounds other than
             a contractual relationship with the government.’”) (quoting
             Megapulse, 672 F.2d at 967-68). “It [is] nothing less than
             remarkable to conclude that Congress intended judicial review
             of these complex questions of [constitutional law] to be
             reviewed in a specialized forum such as the Court of Claims.”
             Bowen, 487 U.S. at 908.

                  To determine whether the Court of Federal Claims has
             exclusive jurisdiction, we must look to the source of the rights
             plaintiffs assert and the nature of the relief they seek. “The
             classification of a particular action as one which is or is not ‘at
             its essence’ a contract action depends both on the source of the
             rights upon which the plaintiff bases its claims, and upon the
             type of relief sought (or appropriate).” Megapulse, 672 F.2d at
             968. The following explains in more detail why the district
             court likely had jurisdiction to declare unlawful and enjoin the
             challenged agency action.

                  1. Consider the source of plaintiffs’ rights. In identifying
             their source, we consider factors including whether “the
             plaintiff’s asserted rights and the government’s purported
             authority arise from statute,” and “whether the plaintiff’s rights
             exist prior to and apart from rights created under the contract.”
             Crowley, 38 F.4th at 1107 (internal citations omitted and
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                                           12
             formatting altered). Here, the plaintiffs’ asserted rights arise
             from federal statutes and the Constitution, and they exist
             independent of any contract with USAGM. See MBN Compl.
             ¶¶ 58-60, 65-68, 77-97; RFA Compl. ¶¶ 58-60, 65-68, 77-97.
             As such, the Networks’ claims belong in the district court, not
             the Court of Claims.

                  First, the Networks claim that the government has acted
             contrary to the APA, the Networks’ governing statutes, and
             congressional appropriations. By freezing their funding,
             defendants have placed them in dire financial consequences
             and will force them out of existence within a matter of days.
             Federal law established Radio Free Asia and Middle East
             Broadcasting Networks and required allocation of funds to
             those specific, named entities to enable them to “provide
             accurate and timely information, news, and commentary” to
             Asia and the Middle East, and to “be a forum for a variety of
             opinions and voices from within Asian nations whose people
             do not fully enjoy freedom of expression.” 22 U.S.C. §
             6208(a)-(b); see Emergency Wartime Supplemental
             Appropriations Act of 2003, Pub. L. No. 108-11, 117 Stat. 559,
             562 (2003).       Congress, with the President’s approval,
             appropriated funds earmarked for MBN and RFA to carry out
             statutorily assigned functions.        Further Consolidated
             Appropriations Act of 2024, Pub. L. No. 118-47, div. F, tit. I,
             138 Stat. 460, 735 (2024) (requiring appropriated funds to be
             “allocated in accordance with the table included … in the
             explanatory statement described in section 4”); Explanatory
             Statement Submitted by Ms. Granger, Chair of the House
             Committee on Appropriations, Regarding H.R. 2882, Further
             Consolidated Appropriations Act, 2024, 170 Cong. Rec.
             H1501, H2089 (Mar. 22, 2024) (table designating $60,830,000
             to be allocated to RFA and $100,000,000 to MBN).
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                  The Networks also point to Congress’s direction that funds
             appropriated for RFA and MBN “shall be allocated” to those
             entities. 2024 Appropriations Act, 138 Stat. at 735 (emphasis
             added); 22 U.S.C. § 6204(a)(5) (USAGM is to “make and
             supervise” the grants to the networks). And Congress
             expressly requires USAGM to provide RFA and MBN virtually
             all the funds appropriated for each network, strictly confining
             USAGM’s reprogramming authority to at most 5% of a
             network’s allocation. 2024 Appropriations Act, 138 Stat. at
             735; Full-Year Continuing Appropriations and Extensions Act,
             2025, Pub. L. No. 119-4, div. A, § 1101 (2025). The statute
             allows USAGM to terminate a grant to RFA only for “failure
             to comply with” the requirement “that grant funds be used only
             for activities consistent with” the statute.         22 U.S.C.
             § 6208(c)(5). Those specific provisions govern over the
             general regulatory prerogative the government cites. The
             Agency has not asserted that RFA or MBN did anything
             inconsistent with their statutory mandates, but it has
             nonetheless acted to “terminate” their grants and freeze all their
             funding. Plaintiffs bring a classic APA challenge to the
             Agency’s impoundment of funds—agency action that is both
             arbitrary and heedless of Congress’s commands.

                  In sum, Congress called for the Networks to be established
             as private nonprofit entities supported by federal
             appropriations. It called for them to be maintained for the
             purpose of broadcasting uncensored journalism, especially to
             countries that restrict freedom of speech. And Congress made
             appropriations explicitly allocating funds to RFA and MBN by
             name. Those provisions tightly restrict the use of the
             Networks’ funds for any other purpose. The Networks claim
             that the Agency acted contrary to those congressional
             directives when it impounded funds appropriated to support
             their operations. Their claims that the Agency violated the
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             International Broadcasting Act and the 2024 and 2025
             Appropriations Acts thus arise from statute, not from contract.

                  Second, the complaint raises various constitutional claims.
             Plaintiffs allege that defendants acted beyond the Executive’s
             authority by effectively repealing duly enacted law establishing
             the Networks for specified purposes and by freezing the funds
             Congress allotted to them. They frame those claims as
             violations of the separation of powers, the Presentment Clause,
             the Appropriations Clause, the Spending Clause, and the Take
             Care Clause. MBN Compl. ¶¶ 77-97; RFA Compl. ¶¶ 77-97.
             Constitutional claims for injunctive or declaratory relief face
             no sovereign immunity bar, per the Larson-Dugan exception.
             See Pollack v. Hogan, 703 F.3d 117, 120 (D.C. Cir. 2012)
             (“Under [the Larson-Dugan] exception, suits for specific relief
             against officers of the sovereign allegedly acting beyond
             statutory authority or unconstitutionally are not barred by
             sovereign immunity”) (internal quotation marks omitted);
             Larson v. Domestic & Foreign Com. Corp., 337 U.S. 682, 690-
             91 (1949); Dugan v. Rank, 372 U.S. 609, 621-22 (1963). The
             government’s stay motion does not dispute that the Court of
             Claims could not adjudicate plaintiffs’ constitutional claims,
             see LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir.
             1995), and the government does not appear to contest the
             district court’s jurisdiction over them.

                  Defendants dispute plaintiffs’ framing of their claims as
             statutory and constitutional. They argue that, because the
             Networks are funded by grants, plaintiffs’ challenge to the
             impoundment must be treated as a breach of contract claim that
             belongs in the Court of Claims. Reply at 3. That
             misapprehends the plaintiffs’ case. Their claim of entitlement
             rests on USAGM’s alleged contravention of applicable
             statutory and constitutional constraints—not the terms of any
             particular contract. As the Networks note, if the grant
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             agreements never existed at all, they would have the same
             claims against USAGM.             RFA/MBN Br. 14.           The
             Congressional basis of their entitlement precedes the individual
             grants that deliver their allocations. Cf. Spectrum Leasing
             Corp. v. United States, 764 F.2d 891, 894 (D.C. Cir. 1985).
             USAGM’s use of grants as a vehicle to deliver appropriated
             funds to the Networks does not “automatically transform” their
             case into a contract action. Megapulse, 672 F.2d at 968.

                  What matters is what the court must examine to resolve the
             case: If a plaintiff’s claim depends on interpretations of
             statutes and regulations rather than the terms of an agreement
             negotiated by the parties, the claim is not in essence
             contractual. Crowley, 38 F.4th at 1109-10 (claim was
             statutory, not contractual, when it “require[d] primarily an
             examination of the statutes”). Judge Bork’s opinion for our
             court in Maryland Department of Human Resources v. U.S.
             Department of Health and Human Services, 763 F.2d 1441
             (D.C. Cir. 1985), illustrates the point. We recognized there that
             the state’s claim to funding under a federal grant-in-aid
             program for social workers’ training expenses bore some
             resemblance to “a request for specific performance of a
             contract that obliges the promisor to pay money.” Id. at 1449.
             But we held that, because “federal grant programs originate in
             and remain governed by statutory provisions expressing the
             judgment of Congress concerning desirable public policy,” the
             state’s claim of entitlement was not within the Court of Claims’
             jurisdiction over contracts with the government. Id. (quoting
             Bennett v. Kentucky Dep’t of Educ., 470 U.S. 656, 669 (1985)).

                 The majority submits that, “[o]nce the agency entered
             these contracts” appropriating the congressionally specified
             funds to the Networks, “it incurred a new obligation” to make
             monthly grant payments, and any claims of nonpayment “are
             squarely contract claims under the Tucker Act.” Maj. at 8. But
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             we have long since rejected the notion that “an agency action
             may not be enjoined, even if in clear violation of a specific
             statute, simply because that same action might also amount to
             a breach of contract.” Megapulse, 672 F.2d at 971. As we
             explained in Megapulse, the majority’s premise allows the
             government to “avoid injunctions against activities violative of
             a statutory duty simply by contracting not to engage in those
             activities. Because government involvement in any such
             activities would thereby also constitute a breach of a contract
             term, any injunction would be equivalent to an award of
             specific performance, which, as a matter of public policy, is not
             available against the government.” Id. There, we held that
             “[w]e cannot accept such an interpretation of the law.” Id. The
             majority does not explain under what authority or reasoning it
             decides that it can accept such an interpretation today.

                  2. Consider next the type of relief sought. On this point,
             “[t]he crux of this inquiry . . . boils down to whether the
             plaintiff effectively seeks to attain money damages in the suit.”
             Crowley, 38 F.4th at 1107. Here we must look at the causes of
             action in plaintiffs’ complaints. Greenhill v. Spellings, 482
             F.3d 569, 573 (D.C. Cir. 2007) (“Jurisdiction is determined by
             looking to the complaint.”). RFA and MBN seek injunctive
             and declaratory relief. No count sounds in contract, and none
             seeks money damages for breach. Plaintiffs’ claims therefore
             do not belong in the Court of Claims, which exists to provide a
             centralized, specialized forum to resolve “actions based on
             government contracts,” Megapulse, 672 F.2d at 967, which
             result in “naked money judgment[s] against the United States,”
             Bowen, 487 U.S. at 905; see also Kidwell v. Dep’t of Army, Bd.
             for Correction of Mil. Recs., 56 F.3d 279, 284 (D.C. Cir. 1995).

                 True, courts must be wary of plaintiffs who seek to avoid
             Tucker Act jurisdiction by “disguising a money claim as a
             claim requesting a form of equitable relief.” Kidwell, 56 F.3d
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             at 284. But that risk is not present here. The reality that the
             Networks’ funding is at stake does not change the analysis:
             “The fact that a judicial remedy may require one party to pay
             money to another is not a sufficient reason to characterize the
             relief as ‘money damages.’” Bowen, 487 U.S. at 893; Kidwell,
             56 F.3d at 284 (prospect that “success on the merits may
             obligate the United States to pay the complainant” does not
             make a claim one for “money damages”).

                  The Supreme Court in Bowen distinguished orders for
             specific relief—there, an order directing the Secretary to
             reverse his refusal to financially reimburse the state—from
             money damages. Money damages “refers to a sum of money
             used as compensatory relief” that “substitutes for that which
             ought to have been done.” 487 U.S. at 895, 910. When
             plaintiffs seek funds under statutory entitlement, rather than as
             compensation for losses suffered, the funds are not “money
             damages” for purposes of the Tucker Act. Md. Dep’t of Hum.
             Res., 763 F.2d at 1446; Nat’l Ctr. for Mfg. Scis. v. United
             States, 114 F.3d 196, 200 (Fed. Cir. 1997).               Unlike
             disgorgement of funds owed, “money damages represent
             compensatory relief, an award given to a plaintiff as a
             substitute for that which has been lost.” Am.’s Cmty. Bankers
             v. FDIC, 200 F.3d 822, 829 (D.C. Cir. 2000).

                  The type of relief plaintiffs seek is unavailable in the Court
             of Federal Claims, which “has no power to grant equitable
             relief.” Bowen, 487 U.S. at 905. RFA and MBN are seeking
             more than the restoration of their past-due funding for April;
             they also request a declaration that USAGM is “required by law
             to take all necessary steps” to ensure that USAGM disburses to
             them “all congressionally appropriated funds through
             September 30, 2025” and an injunction against future
             withholding of congressionally appropriated funds. RFA
             Compl. 24-25; MBN Compl. 24-25. The Court of Federal
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             Claims’ lack of authority to address these aspects of plaintiffs’
             claims underscores why it is not the appropriate court. See
             Crowley, 38 F.4th at 1109; Nat'l Ctr. for Mfg. Scis., 114 F.3d
             at 201. When a private entity funded by federal appropriations
             has “a cooperative, ongoing relationship” with the agency “in
             the allocation and use of the funds,” a simple money judgment
             is unlikely to be fitting relief. Nat'l Ctr. for Mfg. Scis., 114 F.3d
             at 201.

                  3. The stay order in Department of Education v.
             California, 145 S. Ct. 966 (2025), does not change the
             landscape. Unlike the Networks here, the Department of
             Education plaintiffs raised no constitutional claim. Their only
             claim was to sums awarded to them in previously awarded
             discretionary grants. Those plaintiffs were not entities created
             by statute and designated by Congress to receive specified
             sums. The equities there were also very different: The Court
             relied on the Department of Education plaintiffs’
             representation that they had financial resources, even without
             the grant funding, to keep their programs running during the
             litigation. RFA and MBN have no financial cushion and are on
             the verge of collapse.

                  This case is more like Department of State v. AIDS
             Vaccine Advocacy Coalition, 145 S. Ct. 753 (2025), in which
             the Supreme Court declined to stay interim injunctive relief
             despite assertions that the plaintiffs’ statutory claims were
             really claims for monetary relief that belonged in the Court of
             Claims. See id. at 756 (Alito, J., joined by Thomas, Gorsuch,
             and Kavanaugh, JJ., dissenting from the denial of the
             application to vacate the district court’s order). The plaintiffs
             in AIDS Vaccine Advocacy Coalition, like the Networks here,
             claimed a right to be free from government action—the
             wholesale termination of the plaintiffs’ grant funding—they
             claimed exceeded the authority conferred by statute and the
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             Constitution. As here, their claims did not depend on whether
             their contracts were breached, but on whether the agency’s
             policy directives were unlawful in the face of federal statutes
             appropriating funds for specific purposes. To the extent that
             the Supreme Court’s action on emergency stay orders
             influences how we apply binding precedent of that court and
             this one, it favors denying the stay here as in AIDS Vaccine
             Advocacy Coalition.

                                           II.

                  1. Plaintiffs in each case have established that they will
             suffer irreparable injury if the district court’s preliminary
             injunction is stayed. The plaintiffs in the two VOA lawsuits
             will be substantially and irreparably injured by the stay. VOA
             has not published or aired a single piece of news content since
             March 15, 2025. Abramowitz Decl. ¶ 33. “Its website is
             frozen, its radio and television channels are looping filler
             material, and its newsroom has shuttered.” Id.           VOA’s
             journalists have been unable to exercise their First Amendment
             rights to free speech and free press. And the “loss of First
             Amendment freedoms, for even minimal periods of time,
             unquestionably constitutes irreparable injury.” Nat’l Ass’n of
             Mfrs. v. SEC, 800 F.3d 518, 559 (D.C. Cir. 2015) (quoting
             Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality)).

                  Each day that passes without VOA publishing any content
             only compounds the irreparable harm: The stifling of its
             distinctive journalistic voice, the erosion of its audience, and
             the breach of the trust of every reporter and listener who has
             relied on its broadcasts. The blight on VOA’s reputation, and
             that of the United States, when a publicly sponsored news
             source with an eight-decade track record of reliability is
             shuttered under accusations of fraud, waste, and producing
             “anti-American content,” Abramowitz Decl. ¶¶ 44-45, will
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             only fester while the preliminary injunction is stayed. The
             asserted harm to VOA’s reputation is irreparable. See, e.g.,
             Beacon Assocs., Inc. v. Apprio, Inc., 308 F. Supp. 3d 277, 288
             (D.D.C. 2018); Patriot, Inc. v. HUD, 963 F. Supp. 1, 5 (D.D.C.
             1997).

                  VOA employees also will be exposed to irreparable
             professional and personal consequences absent injunctive
             relief. For example, plaintiff John Doe 3, a foreign national on
             a J-1 visa, is a journalist working for VOA as a personal service
             contractor. Widakuswara Compl. ¶ 22. His home country is
             governed by an authoritarian regime that has labeled VOA a
             “subversive organization.” Id. John Doe 4 is a VOA contractor
             whose home country is hostile to LGBTQ people like himself.
             Id. ¶ 23. The district court found that “defendants’ actions
             virtually ensure that Does 3 and 4 will be subject to deportation
             immediately,” and may face elevated risks in their home
             countries because of the work they did under the auspices of
             USAGM. Widakuswara, 2025 WL 1166400, at *16.

                  That the USAGM employees and personal service
             contractors are currently receiving full pay and benefits does
             not erase the harm. The government’s own announced
             assessment that the existing agency was beyond repair spells
             widespread terminations once the injunction is stayed. The
             district court recounted the March 25, 2025, notice from
             USAGM’s HR Director to Plaintiff AFGE that it had decided
             to terminate 594 AFGE members working for USAGM.
             Widakuswara, 2025 WL 1166400, at *3. That notice is a red
             flag for USAGM employees once the preliminary injunction is
             lifted. As to the personal service contractors, they are currently
             receiving full pay and benefits only because of court
             intervention; USAGM withheld the termination order only
             after the U.S. District Court for the Southern District of New
             York issued a temporary restraining order to halt it.
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             Widakuswara Opp’n 2 n.2. The district court also foresaw
             irreparable harm to plaintiff Reporters Sans Frontières in the
             absence of a preliminary injunction because “VOA’s silence
             injured [its] ability to distribute its broadcasting and amplify
             press freedom concerns.” Widakuswara, 2025 WL 1166400,
             at *8. Defendants have not challenged that finding on appeal.

                  2. RFA and MBN face existential harm absent injunctive
             relief. Contrary to defendants’ assertions, the imminent
             injuries that the affiliated Networks and their employees face
             cannot be remedied by money damages at some unspecified
             date in the future. RFA “now expects that it does not have
             enough funds to get through May 9, 2025, absent extreme
             measures.” Second Fleming Decl. ¶ 8. At the start of this
             litigation, MBN employed more than 500 people. Because
             USAGM withheld its statutorily mandated funding, by April
             12 MBN had been forced to lay off 90 per cent of those
             employees. Second Kline Decl. ¶ 3. Layoffs of remaining staff
             and the organization’s bankruptcy are imminent once the
             preliminary injunction is stayed. Id. ¶ 12. The network “will
             cease to exist except on paper” no later than May 31, 2025. Id.
             ¶ 15. That existential threat should have moved this court to
             deny the government’s stay motion.

                  RFA employees, represented by Plaintiff NewsGuild-
             CWA in the Widakuswara suit, also face unplanned, costly, and
             stressful dislocations they would not have suffered absent the
             agency’s challenged actions. Many RFA employees, including
             NewsGuild members—work in the United States under H1-B
             visas. Schleuss Decl. ¶ 8. Losing their jobs likely means
             deportation to their home countries. Professionals who have
             served the USAGM mission of bringing objective news
             coverage to people living under repressive regimes, including
             in some cases their own home countries, may have to return to
             countries “that persecute journalists for reporting the news,”
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             making them all the more vulnerable because of the service
             they have rendered to USAGM. Id.

                  3. Meanwhile, the government is unable to identify
             substantial harm it would suffer if the preliminary injunction
             were not stayed. It principally points to the order’s restriction
             of its authority to manage the agency and its employees. The
             nature of injunctive relief is to interfere with what the enjoined
             party would otherwise do. And when agency action that a court
             concludes is likely unlawful is on a grand scale, an appropriate
             preliminary injunction must have scope commensurate to that
             of the challenged deeds. That much is unavoidable. The
             district court nonetheless made clear it respected the
             government’s lawful prerogatives. In denying its motion for
             stay pending appeal, the court reiterated that USAGM retains
             its discretionary management authority: “When USAGM
             returns to pre-March 14 functioning, as is required by the PI,
             the injunction does not prevent USAGM from executing
             personnel decisions for reasons unrelated to the Executive
             Order . . . such execution of normal operations would, to the
             contrary, be in accordance with the status quo pre-March 14.”
             Order Denying Motion for Stay Pending Appeal at 5 [ECF No.
             104] (emphasis added).

                  Defendants also protest that the preliminary injunction
             “does not account for the various costs associated with
             reinstating all employees and contractors.” Gov’t Stay Mot.
             25. Again, the cost of that restoration is proportionate to the
             dislocation the government chose to undertake. There are less
             precarious ways to effect institutional change that might be
             easier to dial back. In eschewing them, the government
             presumably accepts the heightened risk calculus attending its
             preferred approach. But it cannot “be heard to complain about
             damage inflicted by its own hand.” Pennsylvania v. New
             Jersey, 426 U.S. 660, 664 (1976).
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                  Nor has the government demonstrated that restoration of
             congressionally appropriated funds to the Networks amounts to
             irreparable harm. Plaintiffs have shown that they are likely
             entitled to that relief. The government may be right that it
             would be unable to recover that money once handed over. The
             Networks are entirely dependent on it to stay afloat and, if they
             had it in hand, would promptly use it for that purpose. That
             said, the harm to the government from being required to release
             funds that are statutorily earmarked for the very purpose and
             entity to which the injunction directs them—funds that are
             legally restricted against reprogramming to other functions or
             entities—seems less substantial than the loss of the same
             amount of money might be in another circumstance.

                  4. That leaves only the public interest. Duly enacted
             legislation, fashioned by Congress and signed by the President,
             is a strong indicator of where the public interest lies. See
             League of Women Voters of the U.S. v. Newby, 838 F.3d 1, 12
             (D.C. Cir. 2016). Congress founded, supported, and expanded
             the family of USAGM broadcast networks. It started with
             Voice of America to counter Nazi propaganda. In response to
             the need to more actively counter anti-American narratives
             with concrete and timely factual reporting, Congress has
             established affiliate networks in various regions of the world—
             Europe, Asia, and the Middle East. Dismantling that family of
             networks cannot be squared with the public interest. By
             contrast, restoring VOA, RFA, and MBN to operate as
             Congress intended, providing news that that is “consistently
             reliable and authoritative, accurate, objective, and
             comprehensive” serves the interest of the American people. 22
             U.S.C. § 6202(b).

                  The district court’s preliminary injunction was tailored to
             provide necessary relief to the plaintiffs while the courts work
             to resolve their claims on the merits. The panel errs in staying
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             that injunction. Rather than preserving the relative positions of
             the parties, this stay all but guarantees that the networks will no
             longer exist in any meaningful form by the time this case is
             fully adjudicated. I regret that networks charged with
             exemplifying the ideals of free speech, free opinion, and a free
             press to the world at large are silenced by our own
             government’s action in disregard of the expressed will of
             Congress—actions that, as the district court most ably
             explained, are likely to be found unlawful.

                 I respectfully dissent.
